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Michae| R. Koblenz Retained
Defense Attorney

One Battery Park P|aza

New York, NY 10004

UN|TED STATES OF AMER|CA

GEOFFREY L. FELDMAN

 

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1, as well as the forfeiture count 89, of the
indictment on August 09, 2005. Accordingly, the court has adjudicated that the defendant
is guilty of the following offense(s):

Date Count
Title & Section NMf_OftM Offense Number(s)
Concluded
18 U.S.C. § 1962(c) Ftacketeering 05/08/2002 1
18 U.S.C. § 982 Crr'minaf Forfer'ture 05/08/2002 89

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Fleform Act of 1984 and the Nlandatory
Victims Fiestitution Act of 1996

Count(s) 2, 3, 6, 9 - 15, 25 - 26, 43 - 46 are dismissed on the motion of the United States.

|T |S FURTHER OFIDEFlED that the defendant shall notify the United Statas Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 04/05/1949 August 09, 2005
Deft’s U.S. Marsha| No.: 614490-053

Defendant’s Mailing Address:
7 East Street, Apt. #18L
New York, NY 10003

Thls document entered on the docket s ` c nce
with Flule 55 and/or32(b) FRCrP on

 

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Case No: 2:020Fi20165-05-D Defendant Name: Geoffrey L. FELDMAN Page 2 of 5

PROBATION

The defendant is hereby placed on probation for a term of 60 Months, including 18
months of Home Confinement without the requirement for E|ectronic Monitoring; the
defendant’s term of Probation shall commence after October 17, 2005; the defendant
shall be supervised in the Southern District of New York.

Whiie on probation, the defendant shall not commit another federa|, state, or local
crime and shall not illegally possess a firearm, ammunition, destructive device, or
dangerous weapons. The defendant shall also comply with the standard conditions that
have been adopted by this court (set forth below). if this judgment imposes a fine or a
restitution obligation, it shall be a condition of probation that the defendant pay any such file
or restitution.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from placement on
probation and at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment

6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

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Case No: 2:02CFl20165-05-D Defendant Name: Geoffrey L. FELDMAN Page 3 of 5

9.

10.

11.

12.

13.

The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristicsl and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Criminai Monetary Pena|ties sheet of this judgmentl

ADD|T|ONAL COND|TIONS OF PROBAT|ON

The defendant shall also comply with the following additional conditions of probation:
The defendant shall pay a Crimr'naf Forfeiture amount of $500,000.00 in accordance with
the Scheduie of Payments set forth herein;

The defendant shall be allowed to travel for work-related purposes within the State of New
York.

CRIM|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance

with the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Aii of the payment options in the Scheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Tota| Assessment Tota| Fine Total Restitution
$100.00

The Special Assessment shall be due immediate|y.

F|NE
No fine imposed.

REST|TUT|ON
No Flestitution was ordered.

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Case No: 2:02CFi20165-05-D Defendant Name: Geoffrey L. FELDMAN Page 4 of 5

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties
shall be due as foilows:

Lump sum payment of $200,000.00 due immediateiy, balance due in accordance with the
Speciai instructions Be|ow.

Speciai instructions regarding the payment of criminal monetary penalties:

The total sum of $500,000.00 to be paid into the U.S. Marshai’s Seized Asset
Deposit Fund of which $200,000.00 is due at Sentencing with the balance
payable at $100,000.00 annually for three consecutive years beginning on or
before August 9, 2006.

Un|ess the court has expressly ordered otherwise in the special instructions above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment Aii criminal monetary penalties, except those payments made through the
Federa| Bureau of Prisons’ inmate Financial Flesponslbi|ity Program, are made to the clerk of the
court, unless otherwise directed by the court, the probation officer, or the United States attorney.

The defendant shall receive credit for ali payments previously made toward any criminal monetary
penalties imposed.

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Case No: 2:020R20165-05-D Defendant Name: Geoffrey L. FELDMAN Page 5 of 5

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 618 in
ease 2:02-CR-20165 Was distributed by faX, mail, or direct printing on
September 7, 2005 to the parties listed.

 

 

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Honorable Berniee Donald
US DISTRICT COURT

